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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                               NO. 4:13CR00344-01 JLH

MARK LYLE DODSON                                                                  DEFENDANT

                                          ORDER

     The United States’ motion to dismiss the forfeiture allegation set forth in the indictment is

GRANTED. Document #94.

     IT IS SO ORDERED this 4th day of June, 2015.



                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
